                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________
NATHAN ALAN VIETH,

                               Plaintiff,
                                                               Case No. 20-cv-1615-bhl
       v.

INSPECTOR A DOBSON, ET AL.,

                        Defendants.
______________________________________________________________________________

         ORDER ALLOWING THE PLAINTIFF TO PROCEED WITHOUT
                     PAYMENT OF A PARTIAL FILING FEE
______________________________________________________________________________

       The plaintiff is a prisoner, and represents himself. He filed the complaint in this case.

Federal law requires that any party filing a complaint must pay a filing fee of $350.00. 28

U.S.C. §1914(a). It also requires a party filing a complaint to pay a $50 administrative fee.

(Judicial Conference of the United States District Court Miscellaneous Fee Schedule Effective

May 1, 2013, #14.)

       The plaintiff has filed a petition asking the court for leave to proceed without prepaying

the filing fee, or in forma pauperis—he has alleged that he is unable to pay the above filing fee.

The law does not allow the court to waive the filing fee in full for a prisoner. Rather, it says that

if the court determines that the prisoner qualifies for in forma pauperis status, (a) the $50

administrative fee is waived, and (b) the court may allow the prisoner to pay the $350 by paying

an initial partial filing fee, followed by monthly installments, until the $350 has been paid in full.

The law requires the court to calculate the initial filing fee and the installments based on 20% of

either the average monthly deposits into the prisoner’s account or the average monthly balance in

the prisoner’s account for the six months preceding the date the complaint was filed, whichever

is greater. 28 U.S.C. §1915(b).



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        In this case, the plaintiff has filed a certified copy of his prisoner trust account statement

for the six-month period immediately preceding the filing of the complaint, as required by 28

U.S.C. §1915(a)(2). That statement shows that for that six-month period, both the average

monthly deposit in the account and the average monthly balance in the account were zero. The

plaintiff has neither the assets nor the means to pay an initial partial filing fee.

        A prisoner will not be prohibited from bringing a civil action for the reason that he lacks

the assets and means to pay an initial partial filing fee. 28 U.S.C. §1915(b)(4). The plaintiff will

be granted a waiver of payment of the initial partial filing fee in this case. However, he is still

obligated to pay the full filing fee under the statutory formula set forth in 28 U.S.C. §1915(b)(2).

See 28 U.S.C. §1915(b)(1).

        The Prison Litigation Reform Act provides that if a prisoner files more than three actions

which the court later dismisses as frivolous or malicious, or for failure to state a complaint upon

which relief can be granted, the law prohibits the prisoner from bringing any other actions in

forma pauperis (unless the prisoner is in imminent danger of serious physical injury). 28 U.S.C.

§1915(g). Thus, if the court ends up dismissing this lawsuit for any of those reasons, that

dismissal will have an impact on the plaintiff’s ability to proceed in forma pauperis in other

lawsuits. For this reason, the plaintiff may wish to voluntarily dismiss the lawsuit, to avoid the

risk of the court dismissing the lawsuit.

        If the plaintiff does not want to pay the $350 filing fee in installments as the court

described above, or if the plaintiff wants to voluntarily dismiss the lawsuit to avoid having the

court dismiss it later as frivolous or malicious or failing to state a claim, the plaintiff must, on or

before the date specified at the end of this order, file a letter with the Clerk of Court, stating

that the plaintiff does not wish to prosecute the lawsuit. If the plaintiff writes such a letter by the

deadline specified at the end of the order, the court will dismiss the case without prejudice (and

that dismissal will not count against the plaintiff in future requests to proceed in forma pauperis).

        The court will send a copy of this order to the officer in charge of the agency where the

plaintiff is confined.

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       The court ORDERS that the plaintiff will not be required to pay an initial partial filing

fee. The court further ORDERS that if the plaintiff does not wish to continue with this lawsuit,

then on or before November 30, 2020, the plaintiff must write a letter to the clerk of court asking

to voluntarily dismiss the case. Once the time to receive the letter has expired, the court will

review the complaint to determine whether to grant the plaintiff leave to continue in forma

pauperis. The court also will review the complaint to determine whether the lawsuit is frivolous

or malicious or fails to state a claim upon which relief can be granted; if the court concludes that

the complaint does not meet this standard, the court will dismiss the complaint.

       Dated in Milwaukee, Wisconsin this 9th day of November, 2020.

                                                  BY THE COURT:


                                                  s/ Brett H. Ludwig
                                                  Brett H. Ludwig
                                                  United States District Judge




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